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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 PFLAG, INC., et al.,
        Plaintiffs,
                        v.
                                                   Civil Action No. BAH-25-337
 DONALD J. TRUMP, in his official capacity
 as President of the United States, et al.,
         Defendants.


PLAINTIFFS’ EMERGENCY MOTION TO ENFORCE PRELIMINARY INJUNCTION

       Plaintiffs PFLAG, Inc., and GLMA: Health Professionals Advancing LGBTQ+ Equality

(“GLMA”) (collectively, the “Member Organization Plaintiffs”); Gabe Goe, by and through his

parent and next friend George Goe; George Goe; Bella Boe, by and through her parent and next

friend Bruce Boe; Bruce Boe; Cameron Coe, by and through their parent and next friend Claire

Coe; Claire Coe; Robert Roe, by and through his parent and next friend Rachel Roe; Rachel Roe;

Lawrence Loe; and Dylan Doe (collectively, the “Individual Plaintiffs”) hereby move the Court,

pursuant to Federal Rule of Civil Procedure 65, for the issuance of an order enforcing the

preliminary injunction the Court issued on March 4, 2025 (Dkt. 116) against Defendants U.S.

Department of Health and Human Services (“HHS”); Robert F. Kennedy, Jr., in his official

capacity as Secretary of HHS; the Health Resources and Services Administration (“HRSA”);

Diana Espinosa, in her official capacity as Principal Deputy Administrator of HRSA; the National

Institutes of Health (“NIH”); Matthew J. Memoli, in his official capacity as Acting NIH Director;

the National Science Foundation (“NSF”); Sethuraman Panchanathan, in his official capacity as

Director of NSF; any subagencies of Defendant HHS, their officers, agents, successors, servants,
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employees, and attorneys, and any other persons who are in active concert or participation with

them.

        The injunction prohibits Defendants “from conditioning, withholding, or terminating

federal funding under Section 3(g) of Executive Order 14,168 and Section 4 of Executive Order

14,187, based on the fact that a healthcare entity or health professional provides gender-affirming

medical care to a patient under the age of nineteen” and from “tak[ing] any steps to implement,

give effect to, or reinstate under a different name the directives in Section 3(g) of Executive Order

14,168 or Section 4 of Executive Order 14,187 that condition or withhold federal funding based

on the fact that a healthcare entity or health professional provides gender-affirming medical care

to a patient under the age of nineteen.” Dkt. 116 at 1-2 (emphasis added).

        As Plaintiffs discuss in greater detail in their Memorandum in Support of Plaintiffs’

Emergency Motion to Enforce the Preliminary Injunction, Defendants violated this preliminary

injunction by issuing notices to covered entities and federal funding recipients, renewing previous

threats to withhold federal funds. On March 5, 2025, the Centers for Medicare and Medicaid

Services (“CMS”), a subagency of HHS covered by the Court’s preliminary injunction, issued a

so-called Quality and Safety Special Alert Memo (“QSSAM”) with the subject “Protecting

Children from Chemical and Surgical Mutilation”—the very same title of the Denial of Care Order.

Block Decl. Ex. A. The QSSAM purports to warn covered entities of the alleged dangers of gender

affirming medical care for minors and threatens that “CMS may begin taking steps to appropriately

update its policies to protect children from chemical and surgical mutilation.” Id. The next day,

two other subagencies of HHS covered by the preliminary injunction, the Health Resources and

Services Administration (“HRSA”) and the Substance Abuse and Mental Health Services

Administration (“SAMHSA”), issued notices to all their federal funding recipients stating—with




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identical language—that each agency will also “review its policies, grants, and programs in light

of the concerns discussed in the QSSAM and may begin taking steps in the future to appropriately

update its policies to protect children from chemical and surgical mutilation” and “may also

consider re-scoping, delaying, or potentially cancelling new grants in the future depending on the

nature of the work and any future policy change(s).” Block Decl. Exs. B & C. The HRSA notice

also specifically identifies HRSA’s Children’s Hospitals Graduate Medical Education

(“CHGME”) Payment Program as a source of grant funding that HRSA might withhold from

children’s hospitals providing gender affirming medical care. See id. Ex. B.

        Plaintiffs respectfully request that the Court enforce its preliminary injunction and (1)

direct Defendants and any subagencies, including CMS, HRSA, and SAMHSA, to immediately

rescind the notices at issue and any other similar notices, to post notice of these rescissions on their

websites, and to provide all recipients of the rescission notice s with a copy of the Court’s

enforcement order, the Court’s preliminary injunction, and the Court’s March 4, 2025

memorandum opinion; (2) direct Defendants to file with the Court signed confirmation from the

leader of each Defendant agency (including all subagencies of HHS) that they have personally

received a copy of the enforcement order and have read it; and (3) grant any such further relief the

Court deems necessary and proper to fully effectuate the preliminary injunction in this matter.

        Plaintiffs further request that the Court expedite consideration of this motion by ordering

Defendants to file a response by Monday, March 10, 2025, and by ordering the heads of the issuing

agencies, or their designated representatives, to appear at a hearing on the motion next week. The

Court should also direct Defendants’ counsel to provide the Court, in their response to this motion,

a complete list of (a) all agencies or subagencies that have issued similar notices and (b) all




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recipients of the notices, along with copies of those notices, so that th e Court may direct any

additional remedial action that is necessary.

       The grounds for this motion are set forth in the attached memorandum of law and

accompanying exhibits.

Dated: March 7, 2025                                 Respectfully submitted,

                                                    /s/ Omar Gonzalez-Pagan
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                                              *Application for admission pro hac vice
                                              granted.
                                              **Application for admission forthcoming.
                                              ***Application for admission pro hac vice
                                              granted and admitted only in D.C. Supervised
                                              by principals of the firm admitted in
                                              Massachusetts.




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                             CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was electronically filed using the Court’s

CM/ECF system. Service was effected by and through the Court’s CM/ECF system.



Dated: March 7, 2025                                    /s/ Omar Gonzalez-Pagan
                                                        Omar Gonzalez-Pagan
